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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

NORTHWEST BIOTHERAPEUTICS, INC.,

                      Plaintiff,

       v.

CANACCORD GENUITY LLC, CITADEL
                                                          Case No. 1:22-cv-10185 (GHW) (GWG)
SECURITIES LLC, G1 EXECUTION
SERVICES LLC, GTS SECURITIES LLC,
INSTINET LLC, LIME TRADING CORP.,
SUSQUEHANNA INTERNATIONAL
GROUP LLP, AND VIRTU AMERICAS LLC,

                      Defendants.


               DECLARATION OF WILLIAM A. BURCK IN SUPPORT OF
                   DEFENDANTS’ JOINT MOTION TO DISMISS

       1.      I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP and counsel for

Defendant Citadel Securities LLC in this action. I am an attorney licensed to practice in the State

of New York, and admitted before the United States District Court for the Southern District of

New York. I make this Declaration in support of Defendants’ 1 Joint Motion to Dismiss the

Complaint in this action. This Declaration is based on my personal knowledge, and if called upon

to do so, I would testify competently to the facts set forth herein.

       2.      Attached hereto as Exhibit 1 is a true and correct copy of a webpage titled

“Northwest Biotherapeutics Inc. NWBO (U.S.: OTC),” published by the Wall Street Journal,

available at https://www.wsj.com/market-data/quotes/NWBO/advanced-chart (last accessed




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         Defendants are Citadel Securities LLC, Canaccord Genuity LLC, G1 Execution Services
LLC, GTS Securities LLC, Instinet LLC, Lime Trading Corp., Susquehanna International Group,
LLP, and Virtu Americas LLC.
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Mar. 20, 2023).

       3.       Attached hereto as Exhibit 2 is a true and correct copy of a webpage titled “Over-

the-Counter Market,” published by the U.S. Securities and Exchange Commission (“SEC”),

modified May 9, 2013, available at https://www.sec.gov/divisions/marketreg/mrotc (last accessed

Mar. 20, 2023).

       4.       Attached hereto as Exhibit 3 is a true and correct copy of a document titled “OTC

Markets Group, Inc., OTC Link FIX Quotation Service—‘FIXIE Quote’ Client Specification,”

Version     1.6.4,   published        by    OTC   Markets    on    Feb.    28,   2023,   available   at

https://www.otcmarkets.com/files/FIXIE_Quote_Spec.pdf (last accessed Mar. 20, 2023).

       5.       Attached hereto as Exhibit 4 is a true and correct copy of an SEC Cease-And-Desist

Order in the Matter of Northwest Biotherapeutics, Inc., published by the SEC on Oct. 10, 2019,

available at 2019 WL 5088987 and https://www.sec.gov/litigation/admin/2019/34-87281.pdf (last

accessed Mar. 20, 2023).

       6.       Attached hereto as Exhibit 5 is a true and correct copy of an article by Adam

Feuerstein titled “It took years, but the failure of Northwest Bio’s brain cancer vaccine is now in

the   open,”      published      by        STAT   News      on    May     10,    2022,   available   at

https://www.statnews.com/2022/05/10/it-took-years-but-the-failure-and-futility-of-northwest-

bios-brain-cancer-vaccine-is-now-in-the-open/ (last accessed Mar. 20, 2023).

       7.       Attached hereto as Exhibit 6 is a true and correct copy of a webpage titled “Broker

Dealer Directory for Trading on OTC Markets,” published by OTC Markets, available at

https://www.otcmarkets.com/otc-link/broker-dealer-directory (last accessed Mar. 20, 2023).

       8.       Attached hereto as Exhibit 7 is a true and correct copy of excerpts of a Form 10-K

for the fiscal year ended December 31, 2019 filed with the SEC by Northwest Biotherapeutics Inc.



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on               March               16,              2020,                available           at

https://www.sec.gov/Archives/edgar/data/1072379/000110465920034145/tm205288-1_10k.htm

(last accessed Mar. 20, 2023).

       9.      Attached hereto as Exhibit 8 is a true and correct copy of excerpts of a Form 10-K

for the fiscal year ended December 31, 2020 filed with the SEC by Northwest Biotherapeutics Inc.

on               March               31,              2021,                available           at

https://www.sec.gov/ix?doc=/Archives/edgar/data/0001072379/000110465921044832/nwbo-

20201231x10k.htm (last accessed Mar. 20, 2023).

       I declare under penalty of perjury that the foregoing is true and correct.

        Dated:    March 20, 2023
                  Washington, D.C.

                                                     QUINN EMANUEL URQUHART &
                                                     SULLIVAN, LLP

                                                     /s/ William A. Burck
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                                                     Attorney for Defendant Citadel Securities LLC




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